                 Case 20-32181-KLP                    Doc 1          Filed 05/04/20 Entered 05/04/20 03:44:27                                           Desc Main
                                                                     Document     Page 1 of 29

    Fill in this information to identify the case:


    United States Bankruptcy Court for the Eastern District of Virginia

    Case number (if known):                                     Chapter 11

                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



   Official Form 201
   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                                 04/20

   If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
   number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

   1.   Debtor’s name                                Chinos Holdings, Inc.


   2.   All other names debtor used                  None
        in the last 8 years

        Include any assumed names, trade
        names, and doing business as
        names




   3.   Debtor’s federal Employer
        Identification Number (EIN)                  XX-XXXXXXX


   4.   Debtor’s address                             Principal place of business                                             Mailing address, if different from principal place
                                                                                                                             of business


                                                     225          Liberty Street
                                                     Number       Street                                                     Number                     Street



                                                                                                                             P.O. Box


                                                     New York                      New York             10281
                                                     City                          State                ZIP Code             City                       State             ZIP Code

                                                                                                                             Location of principal assets, if different from
                                                                                                                             principal place of business
                                                     New York
                                                     County
                                                                                                                             Number             Street




                                                                                                                             City               State                ZIP Code



   5.   Debtor’s website (URL)                       www.jcrew.com


   6.   Type of debtor                               ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                     ☐ Partnership (excluding LLP)
                                                     ☐ Other. Specify:


Official Form 201                                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     Page 1
WEIL:\97454537\7\54457.0007
                Case 20-32181-KLP                    Doc 1       Filed 05/04/20 Entered 05/04/20 03:44:27                                   Desc Main
                                                                 Document     Page 2 of 29
Debtor          Chinos Holdings, Inc.                                                                        Case number (if known)   20-_____ ( )
                Name


                                                 A. Check one:
 7.      Describe debtor’s business
                                                 ☐   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                 ☐   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                 ☐   Railroad (as defined in 11 U.S.C. § 101(44))
                                                 ☐   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                 ☐   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                 ☐   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                 ☒   None of the above


                                                 B. Check all that apply:
                                                 ☐ Tax- exempt entity (as described in 26 U.S.C. § 501)
                                                 ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                 ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                 C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                    http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                     4481 – Clothing Stores

 8.      Under which chapter of the
                                                 Check one:
         Bankruptcy Code is the
         debtor filing?                          ☐ Chapter 7
                                                 ☐ Chapter 9
                                                 ☒ Chapter 11. Check all that apply:
         A debtor who is a “small business                        ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D),
         debtor” must check the first sub-box.                      and its aggregate noncontingent liquidated debts (excluding debts owed to
         A debtor as defined in § 1182(1)                           insiders or affiliates) are less than $2,725,625. If this sub-box is selected,
         who elects to proceed under                                attach the most recent balance sheet, statement of operations, cash-flow
         subchapter V of chapter 11 (whether                        statement, and federal income tax return or if any of these documents do
         or not the debtor is a “small                              not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
         business debtor”) must check the                         ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate
         second sub-box.
                                                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                    are less than $7,500,000 and it chooses to proceed under Subchapter V of
                                                                    Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                    sheet, statement of operations, cash-flow statement, and federal income tax
                                                                    return or if any of these documents do not exist, follow the procedure in 11
                                                                    U.S.C. § 1116(1)(B).
                                                                  ☐ A plan is being filed with this petition.
                                                                  ☐ Acceptances of the plan were solicited prepetition from one or more classes
                                                                    of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                  ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                                    the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                                    Securities Exchange Act of 1934. File the Attachment to Voluntary Petition
                                                                    for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form
                                                                    201A) with this form.
                                                                  ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                                    1934 Rule 12b-2.
                                                 ☐ Chapter 12
 9.      Were prior bankruptcy cases             ☒ No
         filed by or against the debtor
                                                 ☐ Yes        District                       When                             Case number
         within the last 8 years?
                                                                                                           MM/ DD/ YYYY
         If more than 2 cases, attach a
         separate list.
                                                              District                       When                             Case number
                                                                                                           MM / DD/ YYYY




Official Form 201                                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    Page 2
WEIL:\97454537\7\54457.0007
                Case 20-32181-KLP                    Doc 1         Filed 05/04/20 Entered 05/04/20 03:44:27                                     Desc Main
                                                                   Document     Page 3 of 29
Debtor           Chinos Holdings, Inc.                                                                          Case number (if known)   20-_____ ( )
                 Name


 10. Are any bankruptcy cases                     ☐ No
     pending or being filed by a
     business partner or an                       ☒ Yes          Debtor         See Schedule 1                                   Relationship     See Schedule 1
     affiliate of the debtor?                                    District       Eastern District of Virginia                     When             May 4, 2020
         List all cases. If more than 1,                                                                                                          MM / DD/ YYYY
                                                                 Case number, if known
         attach a separate list.



  11. Why is the case filed in this               Check all that apply:
      district?
                                                  ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                       immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                       district.
                                                  ☒    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have
                                                  ☒ No
     possession of any real
     property or personal property                ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     that needs immediate
     attention?                                              Why does the property need immediate attention? (Check all that apply.)
                                                            ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                                  health or safety.

                                                                  What is the hazard?
                                                            ☐     It needs to be physically secured or protected from the weather.
                                                            ☐     It includes perishable goods or assets that could quickly deteriorate or lose value
                                                                  without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                                  securities-related assets or other options).


                                                             ☐ Other


                                                            Where is the property?
                                                                                                Number                Street


                                                                                                City                            State             ZIP Code
                                                            Is the property insured?
                                                                                                ☐ No
                                                                                                ☐ Yes. Insurance agency
                                                                                                         Contact Name
                                                                                                         Phone




                  Statistical and administrative information



  13. Debtor’s estimation of                  Check one:
      available funds                         ☒     Funds will be available for distribution to unsecured creditors.
                                              ☐     After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

  14. Estimated number of                     
                                              ☐     1-49                                    ☐     1,000-5,000                            ☒   25,001-50,000
      creditors                               ☐     50-99                                   ☐     5,001-10,000                           ☐   50,001-100,000
          (on a consolidated basis with all   ☐     100-199                                 ☐     10,001-25,000                          ☐   More than 100,000
          affiliated debtors)
                                              ☐     200-999




Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          Page 3
WEIL:\97454537\7\54457.0007
               Case 20-32181-KLP                 Doc 1        Filed 05/04/20 Entered 05/04/20 03:44:27                                    Desc Main
                                                              Document     Page 4 of 29
Debtor         Chinos Holdings, Inc.                                                                      Case number (if known)   20-_____ ( )
               Name



  15. Estimated assets                       ☐   $0-$50,000                           ☐    $1,000,001-$10 million                  ☐   $500,000,001-$1 billion
         (on a consolidated basis with all   ☐   $50,001-$100,000                     ☐    $10,000,001-$50 million                 ☒   $1,000,000,001-$10 billion
         affiliated debtors)
                                             ☐   $100,001-$500,000                    ☐    $50,000,001-$100 million                ☐   $10,000,000,001-$50 billion
                                             ☐   $500,001-$1 million                  ☐    $100,000,001-$500 million               ☐   More than $50 billion

  16. Estimated liabilities                  ☐   $0-$50,000                           ☐    $1,000,001-$10 million                  ☐   $500,000,001-$1 billion
         (on a consolidated basis with all   ☐   $50,001-$100,000                     ☐    $10,000,001-$50 million                 ☒   $1,000,000,001-$10 billion
         affiliated debtors)
                                             ☐   $100,001-$500,000                    ☐    $50,000,001-$100 million                ☐   $10,000,000,001-$50 billion
                                             ☐   $500,001-$1 million                  ☐    $100,000,001-$500 million               ☐   More than $50 billion



                Request for Relief, Declaration, and Signatures


 WARNING  Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines
           up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
    17. Declaration and signature of                  The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
        authorized representative of                   this petition.
        debtor
                                                      I have been authorized to file this petition on behalf of the debtor.

                                                      I have examined the information in this petition and have a reasonable belief that the information is
                                                       true and correct.
                                                       I declare under penalty of perjury that the foregoing is true and correct.

                                                           Executed on May 4, 2020
                                                                       MM / DD / YYYY




                                                           /s/ Michael J. Nicholson                                   Michael J. Nicholson
                                                           Signature of authorized representative of                  Printed name
                                                            debtor

                                                           President and Chief Operating Officer
                                                           Title



    18. Signature of attorney                          /s/ Tyler P. Brown                                           Date      May 4, 2020
                                                      Signature of attorney for debtor                                       MM / DD / YYYY
                                                      Tyler P. Brown                                               Ray C. Schrock, P.C.
                                                        Printed Name
                                                
                                                      Hunton Andrews Kurth LLP                                     Weil, Gotshal & Manges LLP
                                                        Firm Name
                                                
                                                        Riverfront Plaza, East Tower,
                                                      951 East Byrd Street                                         767 Fifth Avenue
                                                        Address
                                                
                                                      Richmond, Virginia 23219                                     New York, New York 10153
                                                        City/State/Zip
                                                
                                                      (804) 788-8200                                               (212) 310-8000
                                                        Contact Phone
                                                
                                                      tpbrown@HuntonAK.com                                         ray.schrock@weil.com
                                                        Email Address
                                                
                                                      28072                              Virginia
                                                      Bar Number                         State

Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             Page 4
WEIL:\97454537\7\54457.0007
Case 20-32181-KLP                 Doc 1      Filed 05/04/20 Entered 05/04/20 03:44:27   Desc Main
                                             Document     Page 5 of 29



                                                       Schedule 1

              Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

           On the date hereof, each of the affiliated entities listed below (including the debtor in
this chapter 11 case, collectively, the “Debtors”) filed a voluntary petition for relief under
chapter 11 of title 11 of the United States Code in the United States Bankruptcy Court for the
Eastern District of Virginia. The Debtors have filed a motion requesting that the chapter 11
cases of these entities be consolidated for procedural purposes only and jointly administered
pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure.

                                                    COMPANY
                              J. Crew Virginia, Inc.
                              Chinos Holdings, Inc.
                              Chinos Intermediate Holdings A, Inc.
                              Chinos Intermediate, Inc.
                              Chinos Intermediate Holdings B, Inc.
                              J. Crew Group, Inc.
                              J. Crew Operating Corp.
                              Grace Holmes, Inc.
                              H.F.D. No. 55, Inc.
                              J. Crew Inc.
                              J. Crew International, Inc.
                              Madewell Inc.
                              J. Crew Brand Holdings, LLC
                              J. Crew Brand Intermediate, LLC
                              J. Crew Brand, LLC
                              J. Crew Brand Corp.
                              J. Crew Domestic Brand, LLC
                              J. Crew International Brand, LLC




WEIL:\97454537\7\54457.0007
Case 20-32181-KLP              Doc 1   Filed 05/04/20 Entered 05/04/20 03:44:27       Desc Main
                                       Document     Page 6 of 29



                          JOINT RESOLUTION OF THE BOARD OF DIRECTORS
                                   AND BOARD OF MANAGERS OF

                                         CHINOS HOLDINGS, INC.
                              CHINOS INTERMEDIATE HOLDINGS A, INC.
                                     CHINOS INTERMEDIATE, INC.
                              CHINOS INTERMEDIATE HOLDINGS B, INC.
                                           J. CREW GROUP, INC.
                                       J. CREW OPERATING CORP.
                                           GRACE HOLMES, INC.
                                             H.F.D. NO. 55, INC.
                                                J. CREW INC.
                                    J. CREW INTERNATIONAL, INC.
                                          J. CREW VIRGINIA, INC
                                              MADEWELL INC.
                                   J. CREW BRAND HOLDINGS, LLC
                                J. CREW BRAND INTERMEDIATE, LLC
                                           J. CREW BRAND, LLC
                                          J. CREW BRAND CORP.
                                   J. CREW DOMESTIC BRAND, LLC
                               J. CREW INTERNATIONAL BRAND, LLC

                                             May 3, 2020

        Pursuant to a joint special meeting of (a) all of the members of the board of directors or
board of managers or (b) the duly-authorized special committee of Chinos Intermediate Holdings
A, Inc. and J. Crew Operating Corp., as the case may be (in each case, a “Governing Body”) of
the entities listed above (each such entity individually, a “Company”) do hereby consent to and
adopt and approve, in accordance with applicable state law, the following resolutions and each
and every action effected thereby:


WHEREAS: the Governing Body has consulted with management and legal and financial
         advisors in evaluating the strategic alternatives available to such Company;

WHEREAS: the Governing Body has exercised independent business judgment in the
         fulfillment of its duties, and in doing so, has met on various occasions to review
         and has had the opportunity to ask questions about the materials presented by
         management and the legal and financial advisors of the Company regarding the
         liabilities and liquidity of the Company, the various transactions available to it
         and the impact of the foregoing on the Company’s business;

WHEREAS: each Governing Body has reviewed the form, terms, and provisions of the
         transaction support agreement and the transactions contemplated thereby; and

WHEREAS: the Governing Body desires to approve the following resolutions.




WEIL:\97454537\7\54457.0007
Case 20-32181-KLP             Doc 1   Filed 05/04/20 Entered 05/04/20 03:44:27     Desc Main
                                      Document     Page 7 of 29



Entry Into Transaction Support Agreement

RESOLVED: that the Company is authorized to enter into the transaction support agreement (the
           “Transaction Support Agreement”) on terms and conditions substantially similar
           to those set forth in the form of Transaction Support Agreement previously
           provided to the applicable Governing Body;

RESOLVED: that the form, terms, and provisions of the Transaction Support Agreement and
          exhibits annexed thereto and the execution, delivery, and performance thereof and
          the consummation of the transactions contemplated thereunder by such Company
          are hereby authorized, approved, and are in the best interests of such Company,
          including the plan of reorganization contemplated thereby and the backstop
          agreement and credit agreements annexed thereto;

RESOLVED: that each manager, member, officer, or director of such Company (each, an
          “Authorized Person”) is authorized, empowered, and directed, in the name and on
          behalf of the applicable Company, to cause such Company to enter into, execute,
          deliver, and perform the Transaction Support Agreement and the transactions
          contemplated thereby, including the plan of reorganization contemplated thereby
          and the backstop letters and credit agreements contemplated thereby;

RESOLVED: that each Authorized Person is authorized, empowered, and directed, in the name
           and on behalf of the applicable Company, to execute and deliver any
           amendments, supplements, modifications, renewals, extensions, or substitutions to
           the Transaction Support Agreement or any related documents which shall, in such
           Authorized Person’s sole judgment, be necessary, proper, or advisable;

Commencement of Chapter 11 Cases

RESOLVED: that the Governing Body has determined, after consultation with management and
          the legal and financial advisors of the Company, that it is desirable and in the best
          interests of the Company, its shareholders, creditors, and other parties in interest
          that petitions be filed with the United States Bankruptcy Court for the Eastern
          District of Virginia (the “Bankruptcy Court”) by the Company seeking relief
          under the provisions of the Bankruptcy Code;

RESOLVED: that any Authorized Person in each case, acting singly or jointly, be, and each
          hereby is, authorized, empowered, and directed, with full power of delegation, to
          negotiate, execute, deliver, and file with the Bankruptcy Court, in the name and
          on behalf of the Company, and under its corporate seal or otherwise, all plans,
          petitions, schedules, statements, motions, lists, applications, pleadings, papers,
          affidavits, declarations, orders and other documents (collectively, the “Chapter 11
          Filings”) (with such changes therein and additions thereto as any such Authorized
          Person may deem necessary, appropriate or advisable, the execution and delivery
          of any of the Chapter 11 Filings by any such Authorized Person with any changes
          thereto to be conclusive evidence that any such Authorized Person deemed such
          changes to meet such standard);



                                                 2
WEIL:\97454537\7\54457.0007
Case 20-32181-KLP             Doc 1   Filed 05/04/20 Entered 05/04/20 03:44:27    Desc Main
                                      Document     Page 8 of 29



RESOLVED: that any Authorized Person, in each case, acting singly or jointly, be, and each
          hereby is, authorized, empowered, and directed, with full power of delegation, in
          the name and on behalf of the Company, to take and perform any and all further
          acts and deeds that such Authorized Person deems necessary, appropriate, or
          desirable in connection with the Company’s chapter 11 cases (the “Chapter 11
          Cases”) or the Chapter 11 Filings, including (a) the payment of fees, expenses and
          taxes such Authorized Person deems necessary, appropriate, or desirable, and
          (b) negotiating, executing, delivering, performing and filing any and all additional
          documents, schedules, statements, lists, papers, agreements, certificates or
          instruments (or any amendments or modifications thereto) in connection with, or
          in furtherance of, the Chapter 11 Cases (such acts to be conclusive evidence that
          such Authorized Person deemed the same to meet such standard);

Debtor-in-Possession Financing

RESOLVED: the Governing Body does hereby adopt and resolve to adopt the resolutions
          attached hereto as Exhibit I and Exhibit II by the Company entities as borrower or
          guarantor under that certain postpetition facility (the “DIP Financing”) and the
          credit agreement related thereto together with any exhibits and schedules,
          collectively, the “DIP Credit Agreement”);

RESOLVED: that all capital terms used in the resolutions attached hereto as Exhibit I and
          Exhibit II and not otherwise defined herein shall have the meanings ascribed to
          such terms in the DIP Credit Agreement (as further defined in Exhibit I and
          Exhibit II hereto), as applicable;

Retention of Advisors

RESOLVED: that in connection with the Chapter 11 Cases, any Authorized Person, in each
          case, acting singly or jointly, be, and each hereby is, authorized, empowered, and
          directed, with full power of delegation, in the name and on behalf of the
          Company, to employ and retain all assistance by legal counsel, accountants,
          financial advisors, investment bankers and other professionals, on behalf of the
          Company, which such Authorized Person deems necessary, appropriate or
          advisable in connection with, or in furtherance of, the Chapter 11 Cases (such acts
          to be conclusive evidence that such Authorized Person deemed the same to meet
          such standard);

RESOLVED: that the firm of Lazard Frères & Co. LLC, located at 30 Rockefeller Plaza, New
          York, New York 10112, is hereby retained as investment banker for the Company
          in the Chapter 11 Cases, subject to Bankruptcy Court approval;

RESOLVED: that the law firm of Weil, Gotshal & Manges LLP, located at 767 Fifth Avenue,
          New York, NY 10153, is hereby retained as counsel for the Company in the
          Chapter 11 Cases, subject to Bankruptcy Court approval;




                                                 3
WEIL:\97454537\7\54457.0007
Case 20-32181-KLP             Doc 1   Filed 05/04/20 Entered 05/04/20 03:44:27   Desc Main
                                      Document     Page 9 of 29



RESOLVED: that the law firm of Hunton Andrews Kurth LLP, located at Riverfront Plaza, East
          Tower, 951 East Byrd Street, Richmond, Virginia 23219, is hereby retained as
          local counsel for the Company in the Chapter 11 Cases, subject to Bankruptcy
          Court approval;

RESOLVED: that the firm of AlixPartners LLP, located at 909 3rd Avenue, New York, NY
          10022, is hereby retained as financial advisor for the Company in the Chapter 11
          Cases, subject to Bankruptcy Court approval;

RESOLVED: that the firm of Omni Agent Solutions LLC, located at 1120 Avenue of the
          Americas, 4th Floor, New York, NY 10036, is hereby retained as claims, noticing,
          and solicitation agent and administrative advisor for the Company in the Chapter
          11 Cases, subject to Bankruptcy Court approval;

RESOLVED: that the firm of Hilco Real Estate, LLC located at 5 Revere Drive, Suite 320,
          Northbrook IL 60062, is hereby retained as real estate advisor for the Company in
          the Chapter 11 cases, subject to Bankruptcy Court approval;

RESOLVED: that the firm of KPMG LLP, located at 345 Park Avenue, New York, NY 10154,
          is hereby retained as tax consultants for the Company in the Chapter 11 Cases,
          subject to Bankruptcy Court approval;

General

RESOLVED: that any Authorized Person, in each case, acting singly or jointly, be, and each
          hereby is, authorized, empowered, and directed, with full power of delegation, in
          the name and on behalf of the Company, to take and perform any and all further
          acts or deeds, including (a) the negotiation of such additional agreements,
          amendments, modifications, supplements, reports, documents, instruments,
          applications, notes or certificates not now known but which may be required,
          (b) the execution, delivery and filing (if applicable) of any of the foregoing, and
          (c) the payment of all fees, consent payments, taxes and other expenses as any
          such Authorized Person, in his or her sole discretion, may approve or deem
          necessary, appropriate or desirable in order to carry out the intent and accomplish
          the purposes of the foregoing resolutions and the transactions contemplated
          thereby, all of such actions, executions, deliveries, filings and payments to be
          conclusive evidence of such approval or that such Authorized Person deemed the
          same to meet such standard; and

RESOLVED: that any and all past actions heretofore taken by any Authorized Person, any
          director, or any member of the Company in the name and on behalf of the
          Company in furtherance of any or all of the preceding resolutions be, and the
          same hereby are, ratified, confirmed, and approved in all respects.




                                                 4
WEIL:\97454537\7\54457.0007
Case 20-32181-KLP             Doc 1    Filed 05/04/20 Entered 05/04/20 03:44:27              Desc Main
                                      Document      Page 10 of 29



                                                EXHIBIT I

                                   DIP BORROWER RESOLUTIONS

                                                May 3, 2020

               WHEREAS, Chinos Intermediate Holdings A, Inc., a Delaware corporation (the
“DIP Borrower”) desires to enter into, deliver and perform its obligations under that certain
Debtor-In-Possession Credit Agreement, to be dated (as may be amended, restated, amended and
restated, supplemented and/or otherwise modified from time to time, the “DIP Credit
Agreement”), by and among the DIP Borrower, as borrower, Chinos Holdings, Inc., a Delaware
corporation, as holdings (“Holdings”), Wilmington Savings Fund Society, FSB, as administrative
agent for the DIP Lenders and collateral agent for the Secured Parties (as defined in the DIP
Credit Agreement, the “DIP Secured Parties”) (in such capacities, the “DIP Agent”), and each
lender from time to time party thereto (collectively, the “DIP Lenders”), pursuant to which the
DIP Lenders will make available to the Borrower a term loan credit facility in an aggregate
principal amount of up to $400,000,000 (the “DIP Commitments”).

                WHEREAS, severally pursuant to (a)(i) the entry by the applicable bankruptcy
court of the Interim DIP Order (and subsequently confirmed by the Final DIP Order) and (ii) that
certain Guaranty Agreement, to be dated (as may be amended, restated, amended and restated,
supplemented and/or otherwise modified from time to time, the “DIP Guaranty Agreement”), by
and among the entities listed in Schedule I hereto (collectively, the “DIP Guarantors”) and the
DIP Agent, the DIP Guarantors shall guarantee the Obligations under and as such term is defined
in the DIP Credit Agreement and (b)(i) the entry by the applicable bankruptcy court of the
Interim DIP Order (and subsequently confirmed by the Final DIP Order) and (ii) that certain
Security Agreement, to be dated (as may be amended, restated, amended and restated,
supplemented and/or otherwise modified from time to time, the “DIP Security Agreement”), by
and among, the DIP Borrower, the DIP Guarantors and the DIP Agent, the DIP Borrower and the
DIP Guarantors shall grant the DIP Agent for the benefit of the DIP Secured Parties a legal,
valid, continuing and enforceable security interest in the Collateral (with the priority fully
described therein and in the DIP Credit Agreement) (such grant, the “Security Grant”).

                     NOW, THEREFORE, be it:

DIP Credit                    RESOLVED, that the DIP Borrower is hereby authorized to execute
Agreement                     and deliver the DIP Credit Agreement, the DIP Security Agreement and
                              the Additional DIP Documents (as defined below) to which the DIP
                              Borrower is a party or signatory and the performance of its rights and
                              obligations thereunder and transactions contemplated thereby thereunder
                              and under the Interim DIP Order and the Final DIP Order, including,
                              without limitation, the incurrence of debt and the granting of security
                              interests (including without limitation, the Security Grant), and such
                              other actions, and omissions to take actions, as are necessary,
                              appropriate or desirable in connection with the foregoing, and that any
                              officer (including, without limitation, any chief executive officer, chief
                              financial officer, chief accounting officer, treasurer, assistant treasurer,
                              president, vice president secretary and assistant secretary) of the DIP


WEIL:\97454537\7\54457.0007
Case 20-32181-KLP             Doc 1    Filed 05/04/20 Entered 05/04/20 03:44:27            Desc Main
                                      Document      Page 11 of 29



                              Borrower (each, an “Authorized Officer”), be, and each of them hereby
                              is individually, authorized, empowered and directed, in the name and on
                              behalf of the DIP Borrower, to execute and deliver the DIP Credit
                              Agreement, the DIP Security Agreement and the Additional DIP
                              Documents to which the DIP Borrower is a party or signatory and the
                              performance of its obligations thereunder and under the Interim DIP
                              Order and the Final DIP Order, including, without limitation, the
                              incurrence of debt and the granting of security interests (including,
                              without limitation, the Security Grant) and such other actions, and
                              omissions to take actions, as are necessary, appropriate or desirable in
                              connection with the foregoing, with such modifications thereto as such
                              Authorized Officer executing the same shall approve, his or her
                              execution thereof being deemed conclusive evidence of such approval;
                              and be it further

                              RESOLVED, that any Authorized Officer of the DIP Borrower be, and
                              each of them hereby is individually, authorized, empowered and
                              directed, in the name and on behalf of the DIP Borrower, to execute and
                              deliver, attest to such execution and delivery of, in the name of and on
                              behalf of the DIP Borrower, all such other agreements, all such other
                              agreements (including, without limitation, any security agreements,
                              guaranty agreements, mortgages, and control agreements), commitment
                              letters, filings, motions and orders (including, without limitation, the
                              Interim DIP Order and the Final DIP Order), certificates, instruments
                              and other writings (the “Additional DIP Documents”), and to take all
                              such other actions, as such Authorized Officer may deem necessary or
                              appropriate in connection with the transactions contemplated by these
                              resolutions; and be it further

                              RESOLVED, the DIP Borrower will obtain benefits from the DIP
                              Credit Agreement and the DIP Security Agreement and it is in the best
                              interest of the DIP Borrower to enter into the DIP Credit Agreement and
                              the DIP Security Agreement and be bound by the Interim DIP Order and
                              the Final DIP Order; and be it further

                              RESOLVED, that the DIP Borrower hereby authorizes, adopts and
                              approves, in all respects the form, terms and provisions of the DIP
                              Credit Agreement, the DIP Security Agreement, the Interim DIP Order,
                              the Final DIP Order and any other Additional DIP Documents
                              substantially in the form to be executed and delivered; and be it further

DIP Borrower                  RESOLVED, that the DIP Borrower is authorized to update the DIP
Documents                     Credit Agreement, the DIP Security Agreement and any Additional DIP
                              Documents and the transactions contemplated thereby and is authorized
                              to enter into any Additional DIP Documents to which the DIP Borrower
                              is or is contemplated to be a party and any other agreements, documents,
                              certificates or filings that any Authorized Officer of the DIP Borrower


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WEIL:\97454537\7\54457.0007
Case 20-32181-KLP             Doc 1    Filed 05/04/20 Entered 05/04/20 03:44:27            Desc Main
                                      Document      Page 12 of 29



                              determines are necessary, appropriate or desirable in connection with the
                              DIP Credit Agreement, the DIP Security Agreement, the Interim DIP
                              Order, the Final DIP Order and any other Additional DIP Documents to
                              which the DIP Borrower is or is contemplated to be a party, as security
                              for the Obligations (as defined in the DIP Credit Agreement) or any
                              portion of them and as otherwise provided in the DIP Credit Agreement,
                              the DIP Security Agreement or the Additional DIP Documents; and be it
                              further

                              RESOLVED, that any Authorized Officer of the DIP Borrower be, and
                              each of them hereby is individually, authorized, empowered and
                              directed, in the name and on behalf of the DIP Borrower, to execute and
                              deliver such additional assignments, stock powers, powers of attorney,
                              notices, lien perfection documents, consents to assignment,
                              subordination agreements, interest rate protection and other hedging
                              agreements, letters of credit and master letter of credit agreements, cash
                              management agreements, assignments, collateral assignments, fee letters
                              and other customary loan documents, third party collateral access
                              agreements, bailee letters, deposit account control agreements, securities
                              account control agreements, insurance certificates, UCC financing
                              statements, mortgages, deeds of trust, warehouse notifications, collateral
                              assignments, and other customary secured loan documents and other
                              agreements, certificates, instruments and other writings as the DIP
                              Agent may request or as may be necessary or appropriate in the sole
                              judgment of such Authorized Officer to create, preserve and perfect the
                              security interests and other liens required or contemplated pursuant to,
                              or otherwise to give effect to any of the transactions contemplated by,
                              any of the Additional DIP Documents; and be it further

                              RESOLVED, that any Authorized Officer of the DIP Borrower be, and
                              each of them hereby is individually, authorized, empowered and
                              directed, in the name and on behalf of the DIP Borrower, to execute and
                              deliver all such other agreements, certificates, instruments and other
                              writings, and to take all such other actions, as any such Authorized
                              Officer may deem necessary or appropriate in connection with the
                              transactions contemplated by these resolutions; and be it further

Ratification                  RESOLVED, that all actions, proceedings, elections, appointments,
                              approvals, assignments, grants, transfers, agreements, acts, declarations,
                              instruments, documents, executions and transactions, whether done,
                              taken, executed or acted upon, or purported to be done, taken, executed
                              or acted upon prior to the date hereof, by or on behalf of the DIP
                              Borrower in connection with the DIP Credit Agreement, the DIP
                              Security Agreement or any of the Additional DIP Documents, be, and
                              the same hereby are, approved, adopted, ratified and confirmed in all
                              respects; and be it further




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WEIL:\97454537\7\54457.0007
Case 20-32181-KLP             Doc 1     Filed 05/04/20 Entered 05/04/20 03:44:27               Desc Main
                                       Document      Page 13 of 29



General Authority             RESOLVED, that any Authorized Officer of the DIP Borrower be, and
                              each of them hereby is individually, authorized, empowered and
                              directed, in the name and on behalf of the DIP Borrower, to take such
                              additional actions, to perform all acts and deeds, and to execute, ratify,
                              certify, deliver, file and record such additional agreements, certificates,
                              instruments and other writings as any of them may deem necessary or
                              appropriate to implement the provisions of the foregoing resolutions
                              (including, without limitation, amendments, restatements, replacements
                              or other modifications of any of the foregoing documents) or otherwise
                              in connection with the DIP Credit Agreement, the DIP Security
                              Agreement or any of the Additional DIP Documents, to appoint such
                              agents on behalf of the DIP Borrower as any such Authorized Officer
                              may deem necessary or appropriate in connection with the foregoing
                              resolutions or to comply with the requirements of the agreements,
                              certificates, instruments and other writings approved by the foregoing
                              resolutions, the authority for the taking or performing of such actions,
                              acts or deeds and the execution, ratification, certification, delivery, filing
                              or recording of such agreements, certificates, instruments or other
                              writings to be conclusively evidenced thereby; and be it further

                              RESOLVED, that, to the extent the DIP Borrower serves as the sole
                              member, managing member or other governing body (collectively, a
                              “Controlling Company”), in each case, of any other company (a
                              “Controlled Company”), each Authorized Officer, any one of whom
                              may act without the joinder of any of the others, be, and each of them
                              hereby is, severally authorized, empowered and directed in the name and
                              on behalf of such Controlling Company (acting for such Controlled
                              Company in the capacity set forth above, as applicable), to take all of
                              the actions on behalf of such Controlled Company that an Authorized
                              Officer is herein duly authorized to take on behalf of such Controlling
                              Company; and be it further

                              RESOLVED FURTHER, that the authority conferred upon each
                              Authorized Officer by these resolutions is in addition to, and shall in no
                              way limit, such other authority as such Authorized Officer may have
                              with respect to the subject matter of the foregoing resolutions, and that
                              the omission from this resolution of any agreement or other arrangement
                              contemplated by any of the agreements, instruments or documents
                              described in the foregoing resolutions or any action to be taken in
                              accordance with any requirement of any of the agreements, instruments
                              or documents described in the foregoing resolutions shall in no manner
                              derogate from the authority of such Authorized Officer to take all
                              actions necessary, advisable or appropriate to consummate, effectuate,
                              carry out or further the transactions contemplated by and the intents and
                              purposes of the foregoing resolutions.




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WEIL:\97454537\7\54457.0007
Case 20-32181-KLP             Doc 1    Filed 05/04/20 Entered 05/04/20 03:44:27   Desc Main
                                      Document      Page 14 of 29


                                             SCHEDULE I

                                             COMPANIES


CHINOS HOLDINGS, INC., a Delaware corporation
CHINOS INTERMEDIATE, INC., a Delaware corporation
CHINOS INTERMEDIATE HOLDINGS B, INC., a Delaware corporation
J. CREW GROUP, INC., a Delaware corporation
J. CREW OPERATING CORP., a Delaware corporation
J. CREW INC., a Delaware corporation
J. CREW INTERNATIONAL, INC., a Delaware corporation
GRACE HOLMES, INC., a Delaware corporation
H.F.D. NO. 55, INC., a Delaware corporation
MADEWELL INC., a Delaware corporation
J. CREW VIRGINIA, INC., a Virginia corporation
J. CREW BRAND HOLDINGS, LLC, a Delaware limited liability company
J. CREW BRAND INTERMEDIATE, LLC, a Delaware limited liability company
J. CREW BRAND, LLC, a Delaware limited liability company
J. CREW DOMESTIC BRAND, LLC, a Delaware limited liability company
J. CREW BRAND CORP., a Delaware corporation
J. CREW INTERNATIONAL BRAND, LLC, a Delaware limited liability company




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Case 20-32181-KLP              Doc 1    Filed 05/04/20 Entered 05/04/20 03:44:27            Desc Main
                                       Document      Page 15 of 29



                                                EXHIBIT II

                                   DIP GUARANTOR RESOLUTIONS

                                                 May 3, 2020

               WHEREAS, Chinos Intermediate Holdings A, Inc., a Delaware corporation (the
“DIP Borrower”) desires to enter into, deliver and perform its obligations under that certain
Debtor-In-Possession Credit Agreement, to be dated (as may be amended, restated, amended and
restated, supplemented and/or otherwise modified from time to time, the “DIP Credit
Agreement”), by and among the DIP Borrower, as borrower, Chinos Holdings, Inc., a Delaware
corporation, as holdings (“Holdings”), Wilmington Savings Fund Society, FSB, as administrative
agent for the DIP Lenders and collateral agent for the Secured Parties (as defined in the DIP
Credit Agreement, the “DIP Secured Parties”) (in such capacities, the “DIP Agent”), and each
lender from time to time party thereto (collectively, the “DIP Lenders”), pursuant to which the
DIP Lenders will make available to the Borrower a term loan credit facility in an aggregate
principal amount of up to $400,000,000 (the “DIP Commitments”)

                WHEREAS, severally pursuant to (a)(i) the entry by the applicable bankruptcy
court of the Interim DIP Order (and subsequently confirmed by the Final DIP Order) and (ii) that
certain Guaranty Agreement, to be dated (as may be amended, restated, amended and restated,
supplemented and/or otherwise modified from time to time, the “DIP Guaranty Agreement”), by
and among the entities listed in Schedule I hereto (collectively, the “DIP Guarantors”) and the
DIP Agent, the DIP Guarantors shall guarantee the Obligations under and as such term is defined
in the DIP Credit Agreement (such guarantee, the “Guaranty of Obligations”) and (b)(i) the entry
by the applicable bankruptcy court of the Interim DIP Order (and subsequently confirmed by the
Final DIP Order) and (ii) that certain Security Agreement, to be dated (as may be amended,
restated, amended and restated, supplemented and/or otherwise modified from time to time, the
“DIP Security Agreement”), by and among, the DIP Borrower, the DIP Guarantors and the DIP
Agent, the DIP Borrower and the DIP Guarantors shall grant the DIP Agent for the benefit of the
DIP Secured Parties a legal, valid, continuing and enforceable security interest in the Collateral
(with the priority fully described therein and in the DIP Credit Agreement) (such grant, the
“Security Grant”).

                     NOW, THEREFORE, be it:

DIP Credit                    RESOLVED, that each DIP Guarantor is hereby authorized to execute
Agreement                     and deliver the DIP Credit Agreement, the DIP Security Agreement, the
                              DIP Guaranty Agreement and any Additional DIP Guarantor Documents
                              (as defined below) in its capacity as guarantor, and to perform its
                              obligations and transactions contemplated thereby thereunder and under
                              the Interim DIP Order and the Final DIP Order, including, without
                              limitation, the granting of security interests (including, without
                              limitation, the Security Grant), the granting of pledges, and the making of
                              guarantees thereunder (including, without limitation, the Guaranty of
                              Obligations), and to take such actions, as are necessary, appropriate or
                              desirable in connection with the foregoing, and that any officer



WEIL:\97454537\7\54457.0007
Case 20-32181-KLP              Doc 1    Filed 05/04/20 Entered 05/04/20 03:44:27              Desc Main
                                       Document      Page 16 of 29



                              (including, without limitation, any chief executive officer, chief financial
                              officer, chief accounting officer, treasurer, assistant treasurer, president,
                              vice president secretary and assistant secretary) of such DIP Guarantor
                              (each, an “Authorized Officer”) be, and each of them hereby is
                              individually, authorized, empowered and directed, in the name and on
                              behalf of such DIP Guarantor, to execute and deliver the DIP Credit
                              Agreement, the DIP Security Agreement, the DIP Guaranty Agreement
                              and any Additional DIP Guarantor Documents and to perform such DIP
                              Guarantor’s obligations thereunder and under the Interim DIP Order and
                              the Final DIP Order, including, without limitation, the granting of
                              security interests (including, without limitation, the Security Grant) and
                              the making of guarantees thereunder (including, without limitation, the
                              Guaranty of Obligations), and to take such other actions as are necessary,
                              appropriate or desirable in connection with the foregoing, with the DIP
                              Credit Agreement, the DIP Security Agreement, the DIP Guaranty
                              Agreement and any Additional DIP Guarantor Documents having such
                              modifications as such Authorized Officer executing the same shall
                              approve, his or her execution thereof being deemed conclusive evidence
                              of such approval; and be it further

                              RESOLVED, that any Authorized Officer of each DIP Guarantor be, and
                              each of them hereby is individually, authorized, empowered and directed,
                              in the name and on behalf of such DIP Guarantor, to execute and deliver,
                              attest to such execution and delivery of, in the name of and on behalf of
                              the DIP Guarantor, all such other agreements (including, without
                              limitation, any security agreements, guaranty agreements, mortgages, and
                              control agreements), commitment letters, filings, motions and orders
                              (including, without limitation, the Interim DIP Order and the Final DIP
                              Order), certificates, instruments and other writings (the “Additional DIP
                              Guarantor Documents”), and to take all such other actions, as such
                              Authorized Officer may deem necessary or appropriate in connection
                              with the DIP Credit Agreement, the DIP Security Agreement, the DIP
                              Guaranty Agreement, the Interim DIP Order, the Final DIP Order and
                              any Additional DIP Guarantor Documents; and be it further

                              RESOLVED, that each DIP Guarantor is authorized to execute, deliver
                              and perform such other agreements, amendments, ratifications and
                              confirmations as the DIP Agent may require in connection with the DIP
                              Credit Agreement, the DIP Security Agreement, the DIP Guaranty
                              Agreement and any Additional DIP Guarantor Documents to which such
                              DIP Guarantor is or is contemplated to be a party and any other
                              agreements, documents, certificates or filings that any Authorized Officer
                              of such DIP Guarantor determines are necessary, appropriate or desirable
                              in connection with the DIP Credit Agreement, the DIP Security
                              Agreement, the DIP Guaranty Agreement, the Interim DIP Order, the
                              Final DIP Order and the Additional DIP Guarantor Documents to which



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WEIL:\97454537\7\54457.0007
Case 20-32181-KLP              Doc 1    Filed 05/04/20 Entered 05/04/20 03:44:27             Desc Main
                                       Document      Page 17 of 29



                              such DIP Guarantor is or is contemplated to be a party; and be it further

                              RESOLVED, that any Authorized Officer of each DIP Guarantor be, and
                              each of them hereby is individually, authorized, empowered and directed,
                              in the name and on behalf of such DIP Guarantor, to execute and deliver
                              such additional assignments, stock powers, powers of attorney, notices,
                              lien perfection documents, consents to assignment, subordination
                              agreements, interest rate protection and other hedging agreements, letters
                              of credit and master letter of credit agreements, cash management
                              agreements, assignments, collateral assignments, fee letters and other
                              customary loan documents, third party collateral access agreements,
                              bailee letters, deposit account control agreements, securities account
                              control agreements, insurance certificates, UCC financing statements,
                              mortgages, deeds of trust, warehouse notifications, collateral
                              assignments, and other customary secured loan documents and other
                              agreements, certificates, instruments and other writings as the DIP Agent
                              may request or as may be necessary or appropriate in the sole judgment
                              of such Authorized Officer to create, preserve and perfect the security
                              interests and other liens required or contemplated pursuant to, or
                              otherwise to give effect to any of the transactions contemplated by, any
                              of the Additional DIP Guarantor Documents; and be it further

                              RESOLVED, that any Authorized Officer of each DIP Guarantor be, and
                              each of them hereby is individually, authorized, empowered and directed,
                              in the name and on behalf of such DIP Guarantor, to execute and deliver
                              all such other agreements, certificates, instruments and other writings,
                              and to take all such other actions, as any such Authorized Officer may
                              deem necessary or appropriate in connection with the transactions
                              contemplated by these resolutions (and the DIP Credit Agreement, the
                              DIP Security Agreement, the DIP Guaranty Agreement, the Interim DIP
                              Order and the Final DIP Order); and be it further

                              RESOLVED, that each DIP Guarantor hereby authorizes, adopts and
                              approves, in all respects the form, terms and provisions of the DIP Credit
                              Agreement, the DIP Security Agreement, the DIP Guaranty Agreement,
                              the Interim DIP Order, the Final DIP Order and any other Additional DIP
                              Guarantor Documents (including without limitation, the Guaranty of
                              Obligations provided therein) substantially in the form to be executed and
                              delivered and each DIP Guarantor’s perfection thereunder; and be it
                              further

Ratification                  RESOLVED, that all actions, proceedings, elections, appointments,
                              approvals, assignments, grants, transfers, agreements, acts, declarations,
                              instruments, documents, executions and transactions, whether done,
                              taken, executed or acted upon, or purported to be done, taken, executed
                              or acted upon prior to the date hereof, by or on behalf of any DIP
                              Guarantor in connection with the DIP Credit Agreement, the DIP



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WEIL:\97454537\7\54457.0007
Case 20-32181-KLP              Doc 1     Filed 05/04/20 Entered 05/04/20 03:44:27              Desc Main
                                        Document      Page 18 of 29



                              Security Agreement, the DIP Guaranty Agreement or any Additional DIP
                              Guarantor Documents, be, and the same hereby are, approved, adopted,
                              ratified and confirmed in all respects; and be it further

General Authority             RESOLVED, that any Authorized Officer of each DIP Guarantor be, and
                              each of them hereby is individually, authorized, empowered and directed,
                              in the name and on behalf of such DIP Guarantor, to take such additional
                              actions, to perform all acts and deeds, and to execute, ratify, certify,
                              deliver, file and record such additional agreements, certificates,
                              instruments and other writings as any of them may deem necessary or
                              appropriate to implement the provisions of the foregoing resolutions
                              (including, without limitation, amendments, restatements, replacements
                              or other modifications of any of the foregoing documents) or otherwise in
                              connection with the DIP Credit Agreement, the DIP Security Agreement,
                              the DIP Guaranty Agreement or any Additional DIP Guarantor
                              Documents, to appoint such agents on behalf of such DIP Guarantor as
                              any such Authorized Officer may deem necessary or appropriate in
                              connection with the foregoing resolutions or to comply with the
                              requirements of the agreements, certificates, instruments and other
                              writings approved by the foregoing resolutions, the authority for the
                              taking or performing of such actions, acts or deeds and the execution,
                              ratification, certification, delivery, filing or recording of such agreements,
                              certificates, instruments or other writings to be conclusively evidenced
                              thereby; and be it further

                              RESOLVED, that, to the extent any DIP Guarantor serves as the sole
                              member, managing member or other governing body (collectively, a
                              “Controlling Company”), in each case, of any other company (a
                              “Controlled Company”), each Authorized Officer, any one of whom may
                              act without the joinder of any of the others, be, and each of them hereby
                              is, severally authorized, empowered and directed in the name and on
                              behalf of such Controlling Company (acting for such Controlled
                              Company in the capacity set forth above, as applicable), to take all of the
                              actions on behalf of such Controlled Company that an Authorized Officer
                              is herein duly authorized to take on behalf of such Controlling Company;
                              and be it further

                              RESOLVED FURTHER, that the authority conferred upon each
                              Authorized Officer by these resolutions is in addition to, and shall in no
                              way limit, such other authority as such Authorized Officer may have with
                              respect to the subject matter of the foregoing resolutions, and that the
                              omission from this resolution of any agreement or other arrangement
                              contemplated by any of the agreements, instruments or documents
                              described in the foregoing resolutions or any action to be taken in
                              accordance with any requirement of any of the agreements, instruments
                              or documents described in the foregoing resolutions shall in no manner
                              derogate from the authority of such Authorized Officer to take all actions


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WEIL:\97454537\7\54457.0007
Case 20-32181-KLP              Doc 1    Filed 05/04/20 Entered 05/04/20 03:44:27          Desc Main
                                       Document      Page 19 of 29



                              necessary, advisable or appropriate to consummate, effectuate, carry out
                              or further the transactions contemplated by and the intents and purposes
                              of the foregoing resolutions.




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WEIL:\97454537\7\54457.0007
Case 20-32181-KLP             Doc 1    Filed 05/04/20 Entered 05/04/20 03:44:27   Desc Main
                                      Document      Page 20 of 29


                                             SCHEDULE I

                                             COMPANIES


CHINOS HOLDINGS, INC., a Delaware corporation
CHINOS INTERMEDIATE, INC., a Delaware corporation
CHINOS INTERMEDIATE HOLDINGS B, INC., a Delaware corporation
J. CREW GROUP, INC., a Delaware corporation
J. CREW OPERATING CORP., a Delaware corporation
J. CREW INC., a Delaware corporation
J. CREW INTERNATIONAL, INC., a Delaware corporation
GRACE HOLMES, INC., a Delaware corporation
H.F.D. NO. 55, INC., a Delaware corporation
MADEWELL INC., a Delaware corporation
J. CREW VIRGINIA, INC., a Virginia corporation
J. CREW BRAND HOLDINGS, LLC, a Delaware limited liability company
J. CREW BRAND INTERMEDIATE, LLC, a Delaware limited liability company
J. CREW BRAND, LLC, a Delaware limited liability company
J. CREW DOMESTIC BRAND, LLC, a Delaware limited liability company
J. CREW BRAND CORP., a Delaware corporation
J. CREW INTERNATIONAL BRAND, LLC, a Delaware limited liability company




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               Case 20-32181-KLP                 Doc 1        Filed 05/04/20 Entered 05/04/20 03:44:27                                       Desc Main
                                                             Document      Page 21 of 29


Fill in this information to identify the case:

Debtor name: Chinos Holdings, Inc.
United States Bankruptcy Court for the Eastern District of Virginia
                                              (State)
Case number (If known):                                                                                                                      ☐ Check if this is an
                                                                                                                                             amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
Largest Unsecured Claims and Are Not Insiders                                12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes.
Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors,
unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.
 Name of creditor and complete mailing     Name, telephone number, and email            Nature of the      Indicate if    Amount of unsecured claim
 address, including zip code               address of creditor contact                    claim (for        claim is      If the claim is fully unsecured, fill in only unsecured
                                                                                          example,        contingent,     claim amount. If claim is partially secured, fill in
                                                                                        trade debts,     unliquidated,    total claim amount and deduction for value of
                                                                                         bank loans,      or disputed     collateral or setoff to calculate unsecured claim.
                                                                                        professional
                                                                                        services, and
                                                                                        government
                                                                                         contracts)
                                                                                                                           Total claim, if     Deduction for         Unsecured
                                                                                                                             partially            value of             claim
                                                                                                                             secured            collateral or
                                                                                                                                                   setoff
 1     Deloitte Consulting                 Attn.: Nick Handrinos                         Professional     Unliquidated                                            $22,747,294.00
       Attn.: Nick Handrinos               Phone: (212) 492‐4000                           Services
       30 Rockefeller Plaza, 41st Floor    Email: nhandrinos@deloitte.com
       New York, New York 10112‐0015
       USA
 2     Cosmic Gear Limited                 Attn.: Sammy Hui                                General        Unliquidated                                            $14,305,544.00
       Attn.: Sammy Hui                    Phone: 34279988                                Unsecured
       25 Wang Chiu Road                   Email: sammy.hui@cosmic‐gear.com                 Claim
       Kowloon Bay, KLN
       Hong Kong
 3     Sterling Apparel Ltd.               Attn.: Sam Chung                                General        Unliquidated                                            $13,683,285.00
       Attn.: Sam Chung                    Phone: 852 23091823                            Unsecured
       9 Sheung Hei Street                 Email: sam.chung@sphk.com.hk                     Claim
       San Po Kong, KLN
       Hong Kong
 4     RGM Fashion Ltd.                    Attn.: Billy Wong                               General        Unliquidated                                            $12,631,201.00
       Attn.: Billy Wong                   Phone: 2421‐1212                               Unsecured
       88 Lei Muk Road                     Email: billyw@rgm‐hk.com                         Claim
       Kwai Chung, NT
       Hong Kong
 5     Fashion Accessories                 Attn.: Anoop Thatai                             General        Unliquidated                                            $11,092,743.00
       Attn.: Anoop Thatai                 Phone: 91 124 4035046                          Unsecured
       Phase VI Sector 37                  Email: anoop@orientknits.com                     Claim
       Gurgaon Haryana,
       India
 6     Kyung Seung Co Ltd.                 Attn.: JJ Park                                  General        Unliquidated                                            $10,250,359.00
       Attn.: JJ Park                      Phone: 822 550 1440                            Unsecured
       408 Samseongro Gangnamgu            Email: jjpark@kyungseung.com                     Claim
       Seoul,
       South Korea
 7     Aquarelle Clothing Limited          Attn.: Maneesh Patel                            General        Unliquidated                                             $7,817,402.00
       Attn.: Maneesh Patel                Phone: 230‐466‐0833                            Unsecured
       Boundary Road                       Email: mpatel@laguna‐clothing.mu                 Claim
       Quatre Bornes,
       Mauritus
 8     China Ting Garment Mfg. (Group)     Attn.: Peter Cheung                             General        Unliquidated                                             $7,729,955.00
       Attn.: Peter Cheung                 Phone: 86 571 8625 8180                        Unsecured
       55 King Yip Street                  Email: Peter@conceptcreator.com.hk               Claim
       Kwun Tong, KLN
       Hong Kong


Official Form 204                                List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                          Page 1



WEIL:\97454537\7\54457.0007
               Case 20-32181-KLP                   Doc 1         Filed 05/04/20 Entered 05/04/20 03:44:27                                      Desc Main
                                                                Document      Page 22 of 29
           Chinos Holdings, Inc.                                                                   Case number (if known)            20-_____ ( )
           Name

 Name of creditor and complete mailing      Name, telephone number, and email             Nature of the      Indicate if    Amount of unsecured claim
 address, including zip code                address of creditor contact                     claim (for        claim is      If the claim is fully unsecured, fill in only unsecured
                                                                                            example,        contingent,     claim amount. If claim is partially secured, fill in
                                                                                          trade debts,     unliquidated,    total claim amount and deduction for value of
                                                                                           bank loans,      or disputed     collateral or setoff to calculate unsecured claim.
                                                                                          professional
                                                                                          services, and
                                                                                          government
                                                                                           contracts)
                                                                                                                             Total claim, if     Deduction for         Unsecured
                                                                                                                               partially            value of             claim
                                                                                                                               secured            collateral or
                                                                                                                                                     setoff
 9     First Glory Limited                  Attn.: Steffi Chan                               General        Unliquidated                                             $7,511,182.00
       Attn.: Steffi Chan                   Phone: 2786 1612                                Unsecured
       2 Cheung Yue Street.                 Email: steffic@firstglory.com                     Claim
       Cheung Sha Wan, KLN
       Hong Kong
 10    United Infinite Corp Taiwan Branch   Attn.: Richard Lo                                General        Unliquidated                                             $7,142,987.00
       Attn.: Richard Lo                    Phone: 886 2 8751 1768                          Unsecured
       Jihu Road Neihu District             Email: richard@kuohwa.com                         Claim
       Taipei City, 114
       Taiwan
 11    R K Industries IV                    Attn.: Ajay Agarwal                              General        Unliquidated                                             $6,460,387.00
       Attn.: Ajay Agarwal                  Phone: 0961374/97‐98                            Unsecured
       No. A 7&8 Thiru‐Vi‐Ka Indl           Email: ajay@rk‐india.com                          Claim
       Chennai 600032
       India
 12    Saitex International Dong Nai        Attn.: Sanjeev Bahl                              General        Unliquidated                                             $5,924,440.00
       Attn.: Sanjeev Bahl                  Phone: 84 61 8877 100                           Unsecured
       Amata Ind Park Long Binh Ward        Email: sanjeev@sai‐tex.com                        Claim
       Bien Hoa City, 81000
       Vietnam
 13    Victory International Inc.           Attn.: Michael Cioato                            General        Unliquidated                                             $5,890,914.00
       Attn.: Michael Cioato                Phone: 886 4 25317828                           Unsecured
       No. 77 Shengli 12th Street           Email: michaelcioato@lfsourcing.com               Claim
       Taichung, 310
       China
 14    Suy Co. Ltd.                         Attn.: Sunjian “SJ” Lee                          General        Unliquidated                                             $5,737,742.00
       Attn.: Sunjian “SJ” Lee              Phone: 82 2 558 4870                            Unsecured
       461 Yeoksam‐Ro Gangnam‐Ku            Email: aydenlee@suy.co.kr                         Claim
       Seoul, 135‐280
       South Korea
 15    UPS                                  Attn: Jason M. Owen                              General        Unliquidated                                             $5,393,857.00
       Attn: Jason M. Owen                  Phone: (804) 814‐7952                           Unsecured
       1000 Semmes Ave                      Email: jowen@ups.com                              Claim
       Richmond, Virginia 23224
       USA
 16    Hing Shing Looping Manufacturing     Attn.: Scarlett Cheung                           General        Unliquidated                                             $5,384,210.00
       Attn.: Scarlett Cheung               Phone: 852 3761 6300                            Unsecured
       Flat B, 10/F, Wing Tai Centre        Email: scarlett.cheung@hingshing.com.hk           Claim
       12 Hing Yip Street
       Kwun Tong, KLN
       Hong Kong
 17    Hoi Meng Sourcing                    Attn.: Winny Pak                                 General        Unliquidated                                             $5,374,316.00
       Attn.: Winny Pak                     Phone: 853 2875 5101                            Unsecured
       No 371 Edificio Keng Ou 14 Andar D   Email: winny_pak@hoimeng.com                      Claim
       Em Macau
       Macau
 18    Manchu Times Fashion Limited         Attn.: Michael Durbin                            General        Unliquidated                                             $5,352,295.00
       Attn.: Michael Durbin                Phone: 852 27816111                             Unsecured
       North Blockway Skyway House 3        Email:                                            Claim
       Sham Mong Road, Tai Kok Tsui         MichaelDurbin@ManchuTimesFashion.com
       Kowloon SN
       Hong Kong
 19    Tien‐Hu Trading (Hong Kong) Ltd      Attn.: Sammy Wong                                General        Unliquidated                                             $5,271,049.00
       Attn.: Sammy Wong                    Phone: 852 2328 8065                            Unsecured
       55 Hung To Road                      Email: sammy.wong@tienhu.com.hk                   Claim
       Kwun Tong, KLN
       Hong Kong




Official Form 204                                  List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                          Page 2



WEIL:\97454537\7\54457.0007
               Case 20-32181-KLP                    Doc 1         Filed 05/04/20 Entered 05/04/20 03:44:27                                       Desc Main
                                                                 Document      Page 23 of 29
           Chinos Holdings, Inc.                                                                     Case number (if known)            20-_____ ( )
           Name

 Name of creditor and complete mailing        Name, telephone number, and email             Nature of the      Indicate if    Amount of unsecured claim
 address, including zip code                  address of creditor contact                     claim (for        claim is      If the claim is fully unsecured, fill in only unsecured
                                                                                              example,        contingent,     claim amount. If claim is partially secured, fill in
                                                                                            trade debts,     unliquidated,    total claim amount and deduction for value of
                                                                                             bank loans,      or disputed     collateral or setoff to calculate unsecured claim.
                                                                                            professional
                                                                                            services, and
                                                                                            government
                                                                                             contracts)
                                                                                                                               Total claim, if     Deduction for         Unsecured
                                                                                                                                 partially            value of             claim
                                                                                                                                 secured            collateral or
                                                                                                                                                       setoff
 20    Texma International Co. Ltd.           Attn.: Roger Huang                               General        Unliquidated                                             $4,995,724.00
       Attn.: Roger Huang                     Phone: 886‐2‐26598666                           Unsecured
       114 Nei‐Hu                             Email: roger@texma.com.tw                         Claim
       Taipei
       Taiwan
 21    KNT Limited                            Attn.: Johnson Chong                             General        Unliquidated                                             $4,921,112.00
       Attn.: Johnson Chong                   Phone: 852 3655 9688                            Unsecured
       120‐124 Texaco Road                    Email: johnson@knt.com.hk                         Claim
       Tsuen Wan 999077, NT
       Hong Kong
 22    Luen Thai Overseas Macao               Attn.: Stephen Chin                              General        Unliquidated                                             $4,696,870.00
       Attn.: Stephen Chin                    Phone: 853 2851 9106                            Unsecured
       RMS 1001‐1005,10/F, Nanyang Plaza      Email: stephenchindg.dluxe‐bags.com               Claim
       57 Hung To Road
       Kwun Tong, Kowloon
       Hong Kong
 23    Pan Pacific Co .Ltd.                   Attn.: Simon Chong                               General        Unliquidated                                             $4,422,706.00
       Attn.: Simon Chong                     Phone: 82 2 850 9437                            Unsecured
       12 Digital Ro 31 Gil                   Email: simonchong@pti‐pacific.com                 Claim
       Guro Gu Seoul,
       South Korea
 24    Rio Apparel HK Ltd.                    Attn.: Susana Lee                                General        Unliquidated                                             $4,356,988.00
       Attn.: Susana Lee                      Phone: (917) 671‐8755                           Unsecured
       77 Mody Road, Suite 1019, 10th Floor   Email: susana.lee@rioapparel.com                  Claim
       Tsimshatsui East, KLN
       Hong Kong
 25    Pro Sports Giao Thuy JSC               Attn.: Chinthaka Ranasinghe                      General        Unliquidated                                             $4,039,440.00
       Attn.: Chinthaka Ranasinghe            Phone: 84 903806132                             Unsecured
       4A Area Ngo Dong Town                  Email: chinthaka@pro‐sports.com.vn                Claim
       Nam Dinh Province, 10000
       Vietnam
 26    Deloitte Tax LLP                       Attn.: Brett Sherman                           Professional     Unliquidated                                             $3,977,309.00
       Attn.: Brett Sherman                   Phone: (212) 492‐4000                            Services
       30 Rockefeller Plaza, 41st Floor       Email: bssherman@deloitte.com
       New York, New York 10112‐0015
       USA
 27    Gaurav International                   Attn.: Vijay Uppal                               General        Unliquidated                                             $3,719,593.00
       Attn.: Vijay Uppal                     Phone: 91 124 4804000                           Unsecured
       Plot No. 236 Udyog Vihar               Email: vijay@richagroup.com                       Claim
       Gurgaon, 7
       India
 28    D and J International Limited          Attn.: Jennifer Lee                              General        Unliquidated                                             $3,593,029.00
       Attn.: Jennifer Lee                    Phone: 852 2737 9933                            Unsecured
       610 Nathan Road                        Email: Jenniferlee@dandj.cn                       Claim
       Mongkok, KLN
       Hong Kong
 29    Wilmington Savings Fund Society, FSB   Attn: Gregg S. Bateman, Esq.                    Prepetition      Contingent,    $1,342,121,219       Undetermined        Undetermined
       Attn.: Gregg S. Bateman, Esq.          Phone: (212) 574‐1436                           Term Loan       Unliquidated,
       500 Delaware Avenue                    Email: bateman@sewkis.com                       Deficiency        Disputed
       Wilmington, Delaware 19801
       USA

       ‐and‐

       Seward & Kissel LLP
       Attn: Gregg S. Bateman, Esq.
       One Battery Park Plaza
       New York, New York 10004
       USA



Official Form 204                                    List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                          Page 3



WEIL:\97454537\7\54457.0007
               Case 20-32181-KLP                     Doc 1       Filed 05/04/20 Entered 05/04/20 03:44:27                                         Desc Main
                                                                Document      Page 24 of 29
           Chinos Holdings, Inc.                                                                      Case number (if known)           20-_____ ( )
           Name

 Name of creditor and complete mailing         Name, telephone number, and email            Nature of the       Indicate if    Amount of unsecured claim
 address, including zip code                   address of creditor contact                    claim (for         claim is      If the claim is fully unsecured, fill in only unsecured
                                                                                              example,         contingent,     claim amount. If claim is partially secured, fill in
                                                                                            trade debts,      unliquidated,    total claim amount and deduction for value of
                                                                                             bank loans,       or disputed     collateral or setoff to calculate unsecured claim.
                                                                                            professional
                                                                                            services, and
                                                                                            government
                                                                                             contracts)
                                                                                                                                Total claim, if     Deduction for         Unsecured
                                                                                                                                  partially            value of             claim
                                                                                                                                  secured            collateral or
                                                                                                                                                        setoff
 30    Eaton Vance Management                  Attn.: Sigmund S. Wissner‐Gross, Esq.           Litigation      Contingent,                                              Undetermined
       c/o Brown Rudnick LLP                   Phone: (212) 209‐4800                                          Unliquidated,
       Attn.: Sigmund S. Wissner‐Gross, Esq.   Email: swissner‐gross@brownrudnick.com                           Disputed
       Seven Times Square
       New York, New York 10036
       USA




Official Form 204                                    List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                           Page 4



WEIL:\97454537\7\54457.0007
Case 20-32181-KLP             Doc 1     Filed 05/04/20 Entered 05/04/20 03:44:27           Desc Main
                                       Document      Page 25 of 29



                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :   Chapter 11
                                                             :
CHINOS HOLDINGS, INC.,                                       :   20-______ (___)
                                                             :
                                    Debtor.                  :
                                                             :
------------------------------------------------------------ x

         CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT
         TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

          Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 7007.1, attached

hereto as Exhibit A is an organizational chart reflecting all of the ownership interests in Chinos

Holdings, Inc. (“Holdings”) and its affiliated debtors in the above-captioned chapter 11 cases, as

debtors and debtors in possession (collectively, the “Debtors”).              The Debtors respectfully

represent as follows:

          The following entities own, directly or indirectly, 10 percent or more of Holdings’ equity

interests:

             a. Certain funds sponsored by or affiliated with TPG Capital, L.P. collectively own
                approximately 55% of Holding’s common stock (the “Common Stock”) and
                approximately 66.2% of Holding’s 7% non-convertible perpetual series B preferred
                stock (the “Series B Preferred Stock”).
             b. Certain funds sponsored by or affiliated with Leonard Green & Partners LP
                collectively own approximately 20.7% of the Common Stock and approximately
                24.8% percent of the Series B Preferred Stock.
             c. Certain funds sponsored by or affiliated with Anchorage Capital Group, L.L.C.
                collectively own approximately 25.6% of 7% non-convertible perpetual series A
                preferred stock (the “Series A Preferred Stock”).
             d. Certain funds sponsored by or affiliated with GSO Capital Partners LP collectively
                own approximately 26.1% percent of Series A Preferred Stock.
             e. Certain funds sponsored by or affiliated with Goldman Sachs & Co. LLC owns
                approximately 15.5% of Series A Preferred Stock.



WEIL:\97454537\7\54457.0007
Case 20-32181-KLP             Doc 1    Filed 05/04/20 Entered 05/04/20 03:44:27           Desc Main
                                      Document      Page 26 of 29



To the best of the Debtors’ knowledge and belief, no other corporation directly owns 10% or

more of any class of Holding’s equity interests.

          Holdings indirectly or directly owns all of the equity interests of each other Debtor.




                                                   2
WEIL:\97454537\7\54457.0007
Case 20-32181-KLP             Doc 1    Filed 05/04/20 Entered 05/04/20 03:44:27   Desc Main
                                      Document      Page 27 of 29



                                              Exhibit A

                                         Organizational Chart




WEIL:\97454537\7\54457.0007
                         Case 20-32181-KLP   Doc 1    Filed 05/04/20 Entered 05/04/20 03:44:27   Desc Main
                                                     Document      Page 28 of 29




WEIL:\97454537\7\54457.0007
Case 20-32181-KLP                  Doc 1       Filed 05/04/20 Entered 05/04/20 03:44:27                        Desc Main
                                              Document      Page 29 of 29




Fill in this information to identify the case:

Debtor name: Chinos Holdings, Inc.
United States Bankruptcy Court for the Eastern District of Virginia
                                             (State)
Case number (If known):




Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must
sign and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is
not included in the document, and any amendments of those documents. This form must state the individual’s position or
relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


             Declaration and signature



    I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of
    the partnership; or another individual serving as a representative of the debtor in this case.
    I have examined the information in the documents checked below and I have a reasonable belief that the
    information is true and correct:
    ☐       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
    ☐       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    ☐       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
    ☐       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
    ☐       Schedule H: Codebtors (Official Form 206H)
    ☐       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
    ☐       Amended Schedule ____
           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not
            Insiders (Official Form 204)
           Other document that requires a declaration Consolidated Corporate Ownership Statement

    I declare under penalty of perjury that the foregoing is true and correct.



    Executed on May 4, 2020                             /s/ Michael J. Nicholson
                    MM / DD /YYYY                        Signature of individual signing on behalf of debtor

                                                         Michael J. Nicholson
                                                         Printed name

                                                         President and Chief Operating Officer
                                                         Position or relationship to debtor




Official Form 202                      Declaration Under Penalty of Perjury for Non-Individual Debtors


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